
718 S.E.2d 376 (2011)
In the Matter of the Foreclosure of the Deed of Trust of Ormsby King HACKLEY, III, Grantor.
As Recorded in Book 1932, at Page 689 of the Henderson County Public Registry.
Raintree Realty &amp; Construction, Inc., Substitute Trustee
See Appointment of Substitute Trustee as Recorded in Book 1390, at Page 190 of the Henderson County Registry.
No. 315P11.
Supreme Court of North Carolina.
October 6, 2011.
Angela Beeker, Hendersonville, for Ormsby King Hackley, III.
Travis L. Smuckler, Asheville, for United Bank and Trust (Secured Creditor).

ORDER
Upon consideration of the conditional petition filed on the 5th of August 2011 by Petitioner in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as Moot by order of the Court in conference, this the 6th of October 2011."
